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                          UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF TEXAS

DAVID STEBBINS                                                               PLAINTIFF

VS.                            CASE NO. 3:11-CV-2227-N (BK)

STATE OF TEXAS                                                               DEFENDANTS

                                       AFFIDAVIT OF SERVICE

       I, pro se Plaintiff David Stebbins, hereby certify that a true and correct copy of the Complaint

was served on the Defendants by mailing a copy via first class mail to PO Box 12548 Austin, TX

78711-2548 on the 6th day of September, 2011.

       This is a sufficient service of process, given that I am attempting to confirm an arbitration

award, and the Defendants are residents of this district. 9 U.S.C. § 9 states in pertinent part “[i]f the

adverse party is a resident of the district within which the award was made, such service shall be made

upon the adverse party or his attorney as prescribed by law for service of notice of motion in an action

in the same court.” Therefore, this service is sufficient under Fed. R. Civ. P. Rule 5(b)(2)(C).

       Because service is complete upon mailing, not when the Defendants receive the document, that

means that service was perfected on September 6, 2011 and the Defendants have until September 28,

2011 to file an answer, otherwise default will be proper, pursuant to Rule 55(a).

       It is so declared on this 7th day of September, 2011.
